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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                   LUBBOCK DIVISION

IN RE:                                           §
                                                 §
REAGOR-DYKES MOTORS, LP et al 1                  §        Case No. 18-50214-rlj-11
                                                 §        Jointly Administered
Debtors                                          §

REAGOR AUTO MALL LTD.;            §
REAGOR-DYKES AMARILLO, LP;        §
REAGOR-DYKES FLOYDADA, LP;        §
REAGOR-DYKES IMPORTS, LP;         §
REAGOR-DYKES AUTO COMPANY, LP §
REAGOR-DYKES PLAINVIEW, LP;       §
REAGOR-DYKES MOTORS, LP; and      §
REAGOR-DYKES SNYDER, LP,          §
     Plaintiffs                   §
                                  §
V.                                §                       Adversary No. 20-05002-rlj
                                  §
FIRSTCAPITAL BANK OF TEXAS, N.A., §
     Defendant.                   §


                 JOINT MOTION FOR ENTRY OF PROTECTIVE ORDER

         Plaintiffs Reagor Auto Mall Ltd., et al and Defendant FirstCapital Bank of Texas, N.A.

(collectively the “Parties”) file this Joint Motion for Entry of Protective Order and respectfully

show the Court as follows:

         Certain documents relevant to this litigation contain confidential information, including

proprietary information about the Parties’ business operations. There is a compelling need for

protecting the confidentiality of this information, as well as any discoverable, confidential and



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 The Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes Amarillo (Case No. 18-50216),
Reagor-Dykes Auto Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP (Case No. 18-50218), Reagor-
Dykes Floydada, LP (Case No. 18-50219), Reagor-Dykes III LLC, Reagor-Dykes Snyder, L.P. (Case No. 18-50321),
(Case No. 18-50322), Reagor-Dykes II LLC (Case to Mall Ltd (Case No. 18-50324) and Reagor Auto Mall I LLC
(Case No. 18-50325).
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proprietary information that is produced. The Parties have agreed to the terms of a Protective

Order, submitted herewith. The Parties agree that this Protective Order will help protect against

the potentially damaging disclosure of confidential information.

       Therefore, the Parties respectfully request that the Court enter the proposed Protective

Order attached hereto as Exhibit A.

                                             Respectfully submitted,

                                             _/s/ Andrew S. Hicks__________
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                                             ATTORNEYS FOR PLAINTIFFS

                                             and




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                                             /s/Joel R. Hogue______________
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                                             ATTORNEYS FOR FIRSTCAPITAL
                                             BANK OF TEXAS, N.A.



                                  CERTIFICATE OF SERVICE

   I hereby certify that, on March 30, 2020 a true and correct copy of the foregoing document was

served on all parties consenting to electronic service of this case via the Court’s ECF system for

the Northern District of Texas.

                                             /s/ Andrew S. Hicks
                                               Andrew S. Hicks




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